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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.                              NO. 4:12CR00275-04-DPM

NICK ALAN DICKSON                                                           DEFENDANT


                                          ORDER

          The Order Setting Conditions of Release (Docket entry #102) is hereby modified

to remove the condition numbered 8(s), location monitoring, which was marked in error

at the time of the hearing. All other release conditions stated in the Order remain in

effect.

          IT IS SO ORDERED this 20th day of February, 2013.




                                    UNITED STATES MAGISTRATE JUDGE
